A common-law mandamus is addressed to the sound discretion of the Supreme Court, and when it appears that the facts are such as to justify the court in refusing mandamus as matter of discretion, this court will not attempt to review its action unless it affirmatively appears in the order denying the writ that the court did not refuse the application in the exercise of discretion. (People ex rel. D.L.I. Co. v. Jeroloman, 139 N.Y. 14;People ex rel. Jacobus v. Van Wyck, 157 N.Y. 495; Peopleex rel. Steinson v. Bd. of Education, 158 N.Y. 125; People exrel. Rice v. Moss, 161 N.Y. 623.)
In this matter the situation as it was presented to the court not only justified, but seemed to call upon it to exercise its discretion in refusing relator the writ, because it had a specific legal remedy afforded by statute to which it could, and, therefore, should, resort for the enforcement of its right, for the rule is well settled that when the law provides an adequate remedy the writ of mandamus will not be awarded. (Wood on Mandamus [3d ed.], page 1, and authorities cited.)
Tha relator's claim was that one of two assessments against it, appearing upon the assessment roll of the city of New York, was illegal; but by chapter 269 of the Laws of 1880 *Page 156 
the legislature provided a remedy by certiorari, which is complete and adequate to give all the relief which any aggrieved taxpayer may be entitled to by reason of an illegal, erroneous or unequal assessment, and as it does not appear from the order of reversal that the court did not refuse mandamus in the exercise of its discretion, we are without authority to review it.
The appeal should be dismissed, with costs.
O'BRIEN, BARTLETT, HAIGHT, MARTIN, VANN and LANDON, JJ., concur.
Appeal dismissed.